Dear Director Edmison,
The Attorney General has received your letter wherein you ask, in effect, the following question:
Does 82 O.S. 934(1) (1974) require that federal grant monies disbursedunder 33 U.S.C.A. 1288 first pass through the Pollution ControlCoordinating Board before being distributed to the various sub-stateplanning districts designated to conduct area-wide water qualitymanagement planning?
As you have noted in your letter, certain sub-state planning districts (A.C.O.G., I.N.C.O.G., and ARKHOMA Regional Planning Commission) have been designated by the Governor pursuant to the requirements of33 U.S.C.A. 1288 to conduct water quality management planning within their respective regions. U.S.C.A. 1288 provides for federal funds for area-wide water quality management planning which are currently being disbursed by the Environmental Protection Agency to the above-referred districts through direct grant.
Regarding the receipt of federal funds, 82 O.S. 934(1) (1974) provides that the Board has the power and duty:
  "To accept funds and grants from private and governmental sources, subject to the provisions of this act, and serve as the recipient of federal funds disbursed pursuant to the Federal Water Pollution Control Act and the Federal Environmental Protection Act. Provided, that the State Department of Health is authorized to continue to be the recipient of federal funds to administer the Construction Grants Program for municipal treatment works." (Emphasis added)
With reference to this section, it is important to note that the exact language thereof appeared in 82 O.S. 934(k) (1971) passed by the Legislature in 1971. At the time the 1971 amendment was enacted, the Federal Water Pollution Control Act was codified as 33 U.S.C.A. 1151
— 1175. Prior to and during this time, the Board was receiving funds under the Federal Act; however, all such funds were for statewide pollution programs. No area-wide water quality planning program was provided for in the Federal Act as it existed in 1971.
Thereafter, in 1972, the Federal Water Pollution Control Act was substantially amended and remodified as 33 U.S.C.A. 1251 — 1376. Included in the 1972 amendments was 1288, which authorized the states to designate sub-state regional agencies to administer area-wide water quality management planning and provided for federal grant funds to be distributed to these sub-state agencies to conduct such planning.
Subsequently, the Legislature, in 1974, approved the amendment of 82 O.S. 934 (1971) at which time the only revision made to 82 O.S. 934 (k) was changing its section number to 82 O.S. 934(1). However, even though the language of 82 O.S. 934(k) was unaltered by the 1974 amendment, it must be presumed that the Legislature, in reconsidering 82 O.S. 934(k) and re-enacting it as 82 O.S. 934(1), had full knowledge of the 1288 area-wide grant program which had previously been made a part of the Federal Act. In 82 C.J.S., Statutes, 316, it is stated that when construing a statute enacted by the Legislature:
  "It is also presumed that the legislature had, and acted with respect to, full knowledge and information as to the subject matter of the statute and the existing conditions and relevant facts relating thereto, as to prior and existing law and legislation on the subject of the statute and the existing condition thereof, . . ."
See also Webb v. City of Hugo, 169 Okla. 438, 37 P.2d 621 (1934).
In light thereof, is must be presumed that the Legislature intended the scope of 82 O.S. 934(1) to include 1288 area-wide planning funds. Any contrary intent would have to have been expressed in the statute as was done therein with respect to the federal funds being disbursed to the State Department of Health to administer the Construction Grants Program (another program provided for under the Federal Act in question).
Accordingly, it is the opinion of the Attorney General that yourquestion should be answered in the affirmative as follows:
 82 O.S. 934(1) (1974), which provides that the Pollution ControlCoordinating Board serve as the recipient of federal funds disbursedpursuant to the Federal Water Pollution Control Act (33 U.S.C.A. 1251— 1376), includes federal grant monies disbursed under 1288 of theAct for the purpose of conducting area-wide water quality managementplanning and requires that such funds first pass through the Board beforebeing distributed to the various sub-state planning districts designatedto conduct such area-wide planning.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
BRENT S. HAYNIE, ASSISTANT ATTORNEY GENERAL